Case 1:21-cv-01119-UNA Document 1-8 Filed 07/30/21 Page 1 of 12 PageID #: 331




            EXHIBIT E
Case 1:21-cv-01119-UNA Document 1-8 Filed 07/30/21 Page 2 of 12 PageID #: 332
Case 1:21-cv-01119-UNA Document 1-8 Filed 07/30/21 Page 3 of 12 PageID #: 333
Case 1:21-cv-01119-UNA Document 1-8 Filed 07/30/21 Page 4 of 12 PageID #: 334
Case 1:21-cv-01119-UNA Document 1-8 Filed 07/30/21 Page 5 of 12 PageID #: 335
Case 1:21-cv-01119-UNA Document 1-8 Filed 07/30/21 Page 6 of 12 PageID #: 336
Case 1:21-cv-01119-UNA Document 1-8 Filed 07/30/21 Page 7 of 12 PageID #: 337
Case 1:21-cv-01119-UNA Document 1-8 Filed 07/30/21 Page 8 of 12 PageID #: 338
Case 1:21-cv-01119-UNA Document 1-8 Filed 07/30/21 Page 9 of 12 PageID #: 339
Case 1:21-cv-01119-UNA Document 1-8 Filed 07/30/21 Page 10 of 12 PageID #: 340
Case 1:21-cv-01119-UNA Document 1-8 Filed 07/30/21 Page 11 of 12 PageID #: 341
Case 1:21-cv-01119-UNA Document 1-8 Filed 07/30/21 Page 12 of 12 PageID #: 342
